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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §               Case No: 4:21-cv-03658
                                      §
vs.                                   §               PATENT CASE
                                      §
LONESTAR TRACKING, LLC,               §               JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §

                                           COMPLAINT

       Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”) files this

Complaint against Lonestar Tracking, LLC (“Defendant” and/or “Lonestar”) for infringement

of United States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Wyoming limited liability company with an address of 1 East

Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       4.      On information and belief, Defendant is a Texas limited liability company with

its principal office located at 395 Sawdust Rd., Box #2115, The Woodlands, TX 77380 and/or

1172 Stallion Springs Dr., Fischer, TX 78623-1899. On information and belief, Defendant may




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be served through its agent, Christine L. Kyle, at 1172 Stallion Springs Dr., Fischer, TX 78623.

        5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.       On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to reside in this District.             Alternatively, acts of

infringement are occurring in this District and Defendant has a regular and established place of

business in this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)

        8.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.       This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.      Plaintiff is the owner by assignment of the ‘365 Patent with sole rights to enforce

the ‘365 Patent and sue infringers.

        11.      A copy of the ‘365 Patent, titled “Device, System and Method for Remotely

Entering, Storing and Sharing Addresses for a Positional Information Device,” is attached hereto

as Exhibit A.

        12.      The ‘365 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.



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       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘365 Patent by making, using (at least by

having its employees, or someone under Defendant's control, test the accused Product),

importing, selling, and/or offering for sale associated hardware and software for asset locating

services (e.g., Lonestar Tracking asset tracking platform, and any associated hardware, apps, or

other software) (“Product”) covered by at least Claim 1 of the ‘365 Patent. Defendant has

infringed and continues to infringe the ‘365 patent either directly or through acts of contributory

infringement or inducement in violation of 35 U.S.C. § 271.

       14.     The Product provides an asset tracking system for real-time GPS tracking of

assets. A user can receive location information on a positional information device (e.g., mobile

device or computer). Certain aspects of this element are illustrated in the screenshot(s) below

and/or in those provided in connection with other allegations herein.




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        15.     The Product software sends a request from a first (requesting) positional

information device (e.g., mobile device or desktop with software installed) to a server. The

request is for the real-time location (e.g., stored address) of an asset, and includes a first identifier

of the requesting positional information device (e.g., user ID and password for the Product

software used in the particular enterprise). The request is sent to the Product server for

transmitting the asset location. The server receives the at least one address from a second

(sending) positional information device at the asset (e.g., employee mobile phone). Certain

aspects of this element are illustrated in the screenshot(s) below and/or in those provided in

connection with other allegations herein.




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       16.     The at least one address is received from the server at the requesting positional

information device. For example, the Product’s server transmits the position of an asset (at least

one address) to the requesting positional information device. Certain aspects of this element are

illustrated in the screenshot(s) below and/or in those provided in connection with other

allegations herein.




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       17.     A second identifier for the second (sending) positional information device is

determined based on the first identifier and the server retrieves the at least one address stored in

the at least one sending positional information device. The Product application installed on the

requesting positional information device requests (from the server) the asset’s GPS location (i.e.,




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at least one stored address stored). As shown above, before activating the tracker (i.e., the

sending positional information device), a unique tracking device’s ID number or credentials (i.e.,

second identifier) needs to be added to the user’s account identified by the user login ID and

password (i.e., the first identifier). Hence, the tracker device’s ID number or asset credentials

(i.e., second identifier) is mapped to the user’s login ID (i.e., the first identifier) for tracking the

real-time location (i.e., at least one stored address stored) of the asset. Certain aspects of this

element are illustrated in the screenshot(s) below and/or in those provided in connection with

other allegations herein.




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       18.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.



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          19.    Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          20.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                          JURY DEMAND

          21.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

 requests a trial by jury on all issues so triable.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,261,365 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: November 8, 2021.         Respectfully submitted,


                                 /s/ Jay Johnson
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